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14

15                                   UNITED STATES DISTRICT COURT

16                             NORTHERN DISTRICT OF CALIFORNIA

17                                         SAN JOSE DIVISION

18

19   TESLA, INC.,                                      Case No: 24-cv-03615-EJD

20                      Plaintiff,                     [PROPOSED] ORDER GRANTING
                                                       DEFENDANT’S ADMINISTRATIVE
21           v.                                        MOTION TO CONSIDER WHETHER
     MATTHEWS INTERNATIONAL                            CASES SHOULD BE RELATED
22
     CORPORATION,
23
                        Defendant.
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                                                                          [PROPOSED] ORDER GRANTING
                                                                         ADMIN. MOT. TO RELATE CASES
                                                                            Case No. 24-cv-03615-EJD
     NAI-1543227967v1
     Case 5:24-cv-03615-EJD          Document 84-2       Filed 03/13/25     Page 2 of 2



 1           Before the Court is an Administrative Motion to Consider Whether Cases Should Be

 2   Related.

 3           For the reasons stated in the Administrative Motion, as well as the Complaints filed in the

 4   cases at issue, the Court concludes and hereby orders that Tesla, Inc. v. Matthews International

 5   Corporation, Case No. 25-cv-01533-SVK is related to Tesla, Inc. v. Matthews International

 6   Corporation, Case No. 24-cv-03615-EJD.

 7           The Court further orders that Tesla, Inc. v. Matthews International Corporation, Case No.

 8   25-cv-01533-SVK is reassigned to Judge Edward J. Davila.

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10           SO ORDERED.

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     Dated: ____________, 2025
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                                                          Hon. Edward J. Davila
14                                                        United States District Court Judge
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                                                                               [PROPOSED] ORDER GRANTING
                                                                              ADMIN. MOT. TO RELATE CASES
                                                   -1-                           Case No. 24-cv-03615-EJD
     NAI-1543227967v1
